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8
                                 UNITED STATES DISTRICT COURT
9
                                EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         Case No. 2:14-CR-00022-JAM

12                       Plaintiff,

13
                                                       STIPULATION AND ORDER TO
     v.                                                CONTINUE STATUS CONFERENCE
14
     MARCUS A. COOPER, et al.,                         Date: November 18, 2014
15                                                     Time: 9:30 a.m.
                         Defendants.                   Judge: Judge John A. Mendez
16

17

18

19                                          STIPULATION

20         Plaintiff United States of America, by and through its counsel of record, and
21   defendants Marcus A. Cooper, Tiana Naples and Leticia A. Roque, by and through their
22   counsel of record, hereby stipulate as follows:
23         1.     By previous order, this matter was set for status on November 18, 2014, at
24   9:30 a.m. before Judge John A. Mendez.
25         2.     By this stipulation, defendants now move to continue the status conference
26
     until January 20, 2015, at 9:30 a.m. before Judge John A. Mendez, and to exclude time
27

28


                                                                                 2:14-cr-00022-JAM
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     between November 18, 2014 and January 20, 2015, inclusive, under Local Code T4 (to
2
     allow defense counsel time to prepare). Plaintiff does not oppose this request.
3
              3.    The parties agree and stipulate, and request that the Court find the following:
4
              a.    The government has represented that, in addition to discovery previously
5
     produced or made available, additional discovery may be produced subject to a protective
6
     order which is not yet in place.
7
              b.    Counsel for the defendants desire additional time to consult with their clients,
8
     to review the current charges, to conduct investigation and research related to the charges,
9
     to review discovery in this matter, and to discuss potential resolutions with their clients.
10
              c.    Counsel for defendants believe that failure to grant the above-requested
11
     continuance would deny them the reasonable time necessary for effective preparation,
12
     taking into account the exercise of due diligence.
13
              d.    The government does not object to the continuance.
14

15
              e.    Based on the above-stated findings, the ends of justice served by continuing

16   the case as requested outweigh the interest of the public and the defendant in a trial within

17   the original date prescribed by the Speedy Trial Act.

18            f.    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

19   3161, et seq., within which trial must commence, the time period of November 18, 2014 to

20   January 20, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

21   B(iv) [Local Code T4] because it results from a continuance granted by the Court at
22   defendants’ request on the basis of the Court's finding that the ends of justice served by
23   taking such action outweigh the best interest of the public and the defendant in a speedy
24   trial.
25            4.    Nothing in this stipulation and order shall preclude a finding that other
26   provisions of the Speedy Trial Act dictate that additional time periods are excludable from
27   ///
28


                                                                                     2:14-cr-00022-JAM
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1
     the period within which a trial must commence.
2
     Dated: November 14, 2014                  Respectfully submitted,
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4
                                               /s/ Candice L. Fields for
                                               MATTHEW MORRIS
5                                              Assistant United States Attorney
                                               Attorney for Plaintiff
6

7
     DATED: November 14, 2014                  /s/ Candice L. Fields for
8                                              BENJAMIN GALLOWAY
                                               Assistant Federal Defender
9                                              Counsel for Defendant
                                               TIANA NAPLES
10

11
     Dated: November 14, 2014                  /s/ Candice L. Fields for
12                                             TASHA P. CHALFANT
                                               Counsel for Defendant
13
                                               LETICIA A. ROQUE
14

15   DATED: November 14, 2014                  /s/ Candice L. Fields
                                               CANDICE L. FIELDS
16
                                               Counsel for Defendant
17                                             MARCUS A. COOPER

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19
                                               ORDER
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21          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
22
     status conference presently set for November 18, 2014, be continued to January 20, 2015,
23
     at 9:30 a.m. Based on the representation of counsel and good cause appearing therefrom,
24
     the Court hereby finds that the ends of justice to be served by granting a continuance
25

26   outweigh the best interests of the public and the defendant in a speedy trial. It is ordered

27   that time from November 18, 2014, to and including, January 20, 2015, the status
28   conference shall be excluded from computation of time within which the trial of this matter

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1    must be commenced under the Speedy Trial Act pursuant to 18 U.S.C. § 3161 (h)(7)(A) and

2    (B)(iv) [reasonable time for counsel to prepare] (Local Code T4).
3
     IT IS SO ORDERED.
4
     Dated: November 17, 2014
5
                                              /s/ John A. Mendez____________
6
                                              Hon. John A. Mendez
7                                             United States District Court Judge

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     4            STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
